10-11 96G- ager: 1S ev seB202 KG oF asH@e entered HPS PPh Bl. FAIR dial sScument
g 0

WHEREFORE, for the reasons set forth herein, the Liquidating Trustee respectfully
requests that the Court enter an order, substantially in the form annexed hereto as Exhibit A,
(i) enjoining prosecution of the State Court Action against the Debtor Defendants: (ii) declaring
the State Court Action void ab initio as against the Debtor Defendants; (iii) granting the
Liquidating Trustee his costs and attorneys’ fees incurred in connection with this Motion and
other efforts to enforce the Plan Injunction with respect to the State Court Action; and grant such
other and further relief as may be appropriate.

Dated: July 29, 2013
New York, New York

/s/ David H. Botter

AKIN GUMP STRAUSS HAUER & FELD LLP
David H. Botter

Sarah Link Schultz (admitted pro hae vice)
Ashleigh L. Blaylock

One Bryant Park

New York, New York 10036

(212) 872-1000 (Telephone)

(212) 872-1002 (Facsimile)

Counsel fo the Liquidating Trustee

20
104810352
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 2 of 26

10-11963-cgm Doc 3626 Filed 07/29/13 Entered 07/29/13 14:57:27 Main Document
Pg 24 of 24

Exhibit Index

Proposed Order

Een Bed it AA 555s hpi wae PRUUUETaGUGUR SAU gAG GURUS BAIN Giada db DUAAAAR abana ectnsanrencenencsecseeneraees
EXMIDIt Bocce cece eeecesssessseceeeesseseeseeesaeesseseseesesesesescssssaseessssessessverersessesesenereats Lenane Declaration
EXD C isaac First Summons with Notice in the State Court Action
FEB Use ia eases ceasaisDUN Ra eatat te daseenteenseemreenecesenes Verified Complaint in the State Court Action
PED IBT EF cossesvenvessereerrensssaneconnvaninenneavotieeecveatuiacrnnncaaneinerimeledeiRRNNNNNTININNReR ERS April 30 Letter
Feige d BS Ee ececczczcesa aa rescence acca ale eT EOL GU RR Affidavits of Service
EXD IDIt Go. seeseesenseseeesceesssssessecessseecseeessnsesueceueeeeererrasssssnauveecaeeacesevevesscasesscssesuecseeasens June 7 Letter
GI po ianncuneasnenvncenamarant Ee NEIEaT Menkes — Schultz Email Correspondence
Exh Dit Tiscali Order to Show Cause in the State Court Action
EXDIDItD ccc cccccssseeneetseesesscecesseaeesseseeserreaeeses Show Cause Affirmation in the State Court Action

104810352
10-11 Se ech OHOGBSE-PK Fi AOHDS SELB OPRLSALS A a BIS? Eee hit A
gio

EXHIBIT A

Proposed Order

104810352
Case 1:13-cv-06902-PKC_ Document 16-8 Filed 05/16/14 Page 4 of 26
10-11963-cgm Doc 3626-1 Filed 07/29/13 Entered 07/29/13 14:57:27 Exhibit A
Pg 2oaf3

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

= Ce os ena naan ear CaLeiRitenmaBmEaURauSceasEE X
In re: | Chapter ||
SAINT VINCENTS CATHOLIC MEDICAL Case No, 10-11963 (CGM)
CENTERS OF NEW YORK, et al.,!

Debtors. Jointly Administered
sss setts x

ORDER ENFORCING THE PLAN INJUNCTION

Upon the motion (the “Motion”),* of Eugene 1. Davis, as trustee (the “Liquidating
Trustee”) of Saint Vincents Catholic Medical Centers of New York Liquidating Trust under the
Debtors’ Second Amended Joint Chapter 11 Plan, dated as of June 21, 2012 (the “Plan’”’),
seeking entry of an order (i) enjoining the Plaintiff from taking any action to prosecute the State
Court Action against the Debtor Defendants; (ii) declaring as void ab initio the State Court
Action as against the Debtor Defendants; and (iii) awarding the Liquidating Trustee his costs and
attorneys’ fees incurred in connection with this Motion and other efforts to enforce the Plan
Injunction, all as more fully set forth in the Motion; the Court finding that (a) the Court has
jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and section 12,1 of the Plan,
(b) this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2) and the Amended Standing Order
M-431 of Referral of Cases to Bankruptcy Court Judges of the District Court for the Southern

District of New York, dated January 31, 2012 (Preska, Acting C.J.); and (c) notice of the Motion

' In addition to SVCMC, the Debtors in these cases were as follows: (i) 555 6th Avenue Apartment
Operating Corporation; (ii) Bishop Francis J. Mugavero Center for Geriatric Care, Ine.: (ii) Chait Housing
Development Corporation; (iv) Fort Place Housing Corporation; (v) Pax Christi Hospice, Inc.; (vi) Sisters of Charity
Health Care System Nursing Home, Inc. d/b/a St. Elizabeth Ann’s Health Care & Rehabilitation Center; (vil) St.
Jerome's Health Services Corporation d/b/a Holy Family Home; and (viii) SVCMC Professional Registry, Ine.
(collectively, the “Debtors”), There are certain affiliates of SYCMC who were not Debtors.

 

* Capitalized terms not otherwise defined herein have the meanings given to them in the Motion.

104810352
10-1198 9S Ai 1 SHE RBE PKA ofp AHO PY 14 FteFled PSG Psltty PAGS © HAG it a

Pq Siof3

being sufficient under the circumstances and in full compliance with the requirements of the
Bankruptcy Code and the Bankruptcy Rules; and the Court having determined that the legal and
factual bases set forth in the Motion establish just cause for the relief granted herein;

IT IS HEREBY ORDERED THAT:

li The Motion is GRANTED in its entirety.

zi: The Plaintiff is hereby enjoined from taking any action to prosecute the State

Court Action against the Debtor Defendants.

3; The State Court Action is hereby declared void ab initio as against the Debtor
Defendants.
4, The Liquidating Trustee is awarded his costs and attorneys’ fees incurred in

connection with the preparation of this Motion and all efforts by the Liquidating Trustee to
enforce the terms of the Plan Injunction in connection with the State Court Action (including,
without limitation, attorneys’ fees incurred in communication with the Plaintiff and/or her
attorneys).

5; The Court shall retain jurisdiction over any and all issues arising from or related

to this Order,

Dated: August » 2013
New York, New York

 

THE HONORABLE CECELIA G, MORRIS
CHIEF UNITED STATES BANKRUPTCY JUDGE

104810352
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 6 of 26

10-11963-cgm Doc 3626-2 Filed 07/29/13 Entered 07/29/13 14:57:27 Exhibit B
Pg lof5

EXHIBIT B

Lenane Declaration

104810352
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 7 of 26

Doc 3626-2 Filed 07/29/13 Entered 07/29/13 14:57:27 Exhibit B

10-11963-cgm
Pg 2of5

AKIN GUMP STRAUSS HAUER & FELD LLP
David H. Botter

Sarah Link Schultz (admitted pro hae vice)
Ashleigh L. Blaylock

One Bryant Park

New York, New York 10036

Telephone: (212) 872-1000

Facsimile: (212) 872-1002

Counsel for the Liquidating Trustee

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

 

si dehiaee teererenxnmeamnmesemassinnae wnnneencce 3
In re: 3 Chapter 11
SAINT VINCENTS CATHOLIC MEDICAL : Case No. 10-11963 (CGM)
CENTERS OF NEW YORK. et al.,'
Debtors. Jointly Administered
a sevesanimseenicinsss &

 

DECLARATION OF TIMOTHY J. LENANE IN SUPPORT OF
THE LIQUIDATING TRUSTEE’S MOTION TO ENFORCE THE PLAN INJUNCTLON

I, Timothy J. Lenane, hereby declare under penalty of perjury. pursuant to 28 U.S.C.
§ 1746, that the following is true and correct to the best of my knowledge, information and
belief;

I, [ am the Corporate Director of Claims (the “Director”) for Post-Effective Date
Saint Vincents Catholic Medical Centers of New York (“PED SYCMC”), PED SVCMC

maintains offices at 450 West 33rd Street. Mezzanine Level. New York. NY 10001,

 

‘In addition to Saint Vincents Catholic Medical Centers of New York (“SVCMC"), the Debtors in these
cases were us follows; ({) 535 6th Avenue Apartment Operating Corporation; (ii) Bishop Francis J. Muyavero Center
for Geriatric Care, Inc.; (iii) Chait Housing Development Corporation: (iv) Fort Place Housing Corporation: (v) Pax
Christi Haspice. Inc.; (vi) Sisters of Charity Health Care System Nursing Home, Inc. d/b/a St. Elizabeth Ann‘s
Health Care & Rehabilitation Center; (vii) St. Jerome's Health Services Corporation d/b/a Holy Family Home; and
(vill) SVCMC Professional Regisiry, Inc. (collectively, the “Debtors”), There are certain affiliates of SVCMC who

were not Debtors,

]
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 8 of 26

10-11963-cgm Doc 3626-2 Filed 07/29/13 Entered 07/29/13 14:57:27. ExhibitB
Pg 3o0f5

Zi: I have served as the Director since January 2010, My current duties as Direetor
include, among others, determining the availability of insurance coverage for newly instituted
actions against SVCMC, the Debtors and other related entities, assigning outside counsel where
appropriate and monitoring the progress of said actions.

3. | submit this declaration in support of the Liguidating Trustee * Motion to Enforce
the Plan Injunction (the “Motion”).’ I have personally reviewed a draft of the Motion and am
familiar with the information contained therein,

4. The statements in this declaration are. except where specifically noted, based on
my personal knowledge or opinion, on information I received from PED SVCMC employees
working directly with me or under my supervision, direction or control, or from SVCMC's
records maintained in the ordinary course of business. If | were called upon to testify, | could
and would testify competently to the facts set forth herein, I am authorized to submit this
declaration of behalf of PED SVCMC.,

5, I understand that Elaine Garvey (the “Plaintiff”), as administratrix of the estate of
Ronald Brophy (the “Decedent”), deceased, has initiated an action (the “State Court Action”)
in the Supreme Court of the State of New York, County of Kings against at least ten parties,
including Holy Family Home and SVCMC,

6. For the reasons discussed below, no insurance is available to cover the claims
asserted in the State Court Action with regard to SVCMC or Holy Family Home.

re SVCMC sold Holy Family Home to KFG Operating Two, LLC during the
Debtors’ chapter 11 cases. The sale closed on January 20, 2012. Upon closing the sale, SVCMC

terminated the insurance coverage it maintained for Holy Family Home for claims arising from,

 

* Capitalized terms not otherwise defined herein shall have the meaning ascribed in the Motion.
2
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 9 of 26

10-11963-cgm Doc 3626-2 Filed 07/29/13 Entered 07/29/13 14:57:27. Exhibit B
Pg4of5

among other things, medical malpractice and actions arising under New York Public Health Code

section 2801-d (the “HFH Poliey”), The HFH Policy’s policy number was PJ 12154, it was
issued by Queeksbrook Insurance Limited, and it expired on January 20 2012. The HFH Policy
was a “claims made” policy, which covers claims that are made during the HFH Policy's terrn.
The HFH Policy, however. did provide a grace period for claims that arose during the HFH
Policy’s term and were made within sixty (60) days of the HFH Policy’s termination date of
January 20, 2012. Accordingly, for claims to be paid under the HFH Policy, they must have been
noticed no later than March 20, 2012. SVCMC did not purchase a tail policy for Holy Family
Home.

8. The SVCMC Professional Liability policy did not cover claims originating at
SVCMC subsidiary facilities such as Holy Family Home,

9, According to the Verified Complaint (annexed as Exhibit C to the Motion), the
Decedent was a patient at Holy Family Home from March 25, 2010 through May 24, 2010 and
subsequently from May 27, 2010 through June 6, 2010 and died on June 13, 2010. The Debtors’
records, however, do not show that Holy Family Home ever put its carrier on notice of any claim
having been made or asserted, or any event having been identified relating to the Decedent until
PED SVCMC received a summons relating to the State Court Action in April 2013.

10. [ have been advised by bankruptcy counsel that no proof of claim was filed by the
Plaintiff or the Decedent in the Debtors’ Bankruptey Court proceedings, Because notice of a
potential claim was no received until more than one year after the expiration of the grace period
to file a claim under the HFH Policy and SVCMC did not maintain coverage that would be
available to cover claims asserted in the State Court Action, no insurance coverage is available

under any policy currently or previously held by PED SVCMC or any of the Debtors.

Leo
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 10 of 26

10-11963-cgm Doc 3626-2 Filed 07/29/13 Entered 07/29/13 14:57:27 ExhibitB
Pg5o0f5

Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is trese

and correct.

Dated: New York, New York
June 7, 2013 ti

Tynditly i Sil pql

7 Timothy J. ‘Lenane{ / [Ye

4
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 11 of 26

10-11963-cgm Doc 3626-3 Filed 07/29/13 Entered 07/29/13 14:57:27 Exhibit C
Pg lof5

EXHIBIT C

First Summons with Notice in the State Court Action

104810352
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 12 of 26

i hO+11963:egm DocSez26x8 Filed 07/29/13 acEnterediO#/29/43 14:57:27 Exhibit Casya5

; Pg 20f5
Akerman Court Serviee g20

KINGS COUNTY BLERS
SUPREME COURT OF THE STATE OF NBW YORK RECEIVED
COUNTY OF KINGS agri JAN nb PM SF

<snetccniminwanennannannaainnntnehetenniinennnemnnisitin nition

ELAINE GARVEY, as administratris: of dye Esinte of
RONALD BROPHY, deceased,
Index Number os /§f — Sho # s
Plainuff, Date Fijed [~~ 12

Maint’ designates KINGS
County a¢ place of trial,
LUTHERAN MEDICAL CENTER, METROPOLITAN The basis of yenue is plaintiff's
JEWISH HOME CARE, INC,, METROPOLITAN residence,

JEWISH LONG TERM HOME CARE,

METROPOLITAN JEWISH LHCSa, HOMEFIRST SUMMONS WITH NOTICE
LHCSA, INC., LUTHERAN AUGUSTANA CENTER
FOR, EXTENDED CARE AND REHABILITATION, INC.,
HOLY FAMILY HOME, ST, VINCENT’S CATHOLIC
MEDICAL CENTERS OF NEW YORK a/k/a SAINT
VINCENT CATHOLIC MEDICAL CENTERS a/k/a
SVCMC-ST VINCENTS MANHATTAN,
BENSONHURST CENTER FOR REHABILITATION
AND HEALTHCARE and KFG OPERATING TWO, LLC,

>SPHITIBI-

Defendants,

-
er raed era ae a a ne tei em i fs pes oes br ee er ee x

To the sbove named Defendants:

You are hereby summoned to answer the complaint in this action and to serve a copy of

your answer, Or, if the complaint is not served with this summons, to serve # notice of
appearance, on the Plainut?’s Anorney within twenty (20 ) days alter the service of this
summGns, exclusive OF the day of servige (or within 30 dave after the service is cormpleie if this
SUMMONS 36 not personally delivered to you within the State of New York); and in case af your
Jalure to appear or answer, judginent wil) be taken against you by defaul: for the relief demanded

here yn
~—i =i ri pa
Dated: New York, New York [ le i
4 Pers f /
Jatmary 3, 2013 ff oo
ile
| Ve C
J \

 

  

ray, Suite 504
Naw York, New York 10007
212-284.000U
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 13 of 26

10-11963-cgm Doc 3626-3 Filed 07/29/13 Entered 07/29/13 14:57:27 Exhibit C
Pg 3 of 5

Jpon your failure to appear, judgement wil! be tikes against yeu by defauli for the sum of
TEN MILLION ($10.000,000.00) DOLLARS with interest from January 3, 2013 and the costs of

his acon,

MoOtCce: ‘The nature of this action is Neglipence, Grogs Neglivence, Nursing Home Abuse,
The relief soueh ts monetary, compensatyry, and punitive.

Pelendants Address:

Lurheran Mecieal Center
140 34" Street
Brooklyn, NY 11220

Metropolitan Jewish Home Care. Ing.
440 Ninth Avenue, 14" Floor
New York, N'Y LO0O]

Metropolitan Jewish Heme Care, Inc.
6323 Seventh Avenue
Brooklyn. NY | 1220

Metropoliian Jewish Long Term Home Care
6403 Seventh Avenue
Brooklyn, NY 11220

Metropolitan Jewish LHCSA
6325 7" Avenue
rovklyn, NY 11220

Homefirst LACSA, Ine.

0325 Seventh Avene

Brooklyn, MY 1) 220

Lutneran Auuustana Center for Extended Care d& Renehiliauon, Ing
5434 Second Avenue

Brooklyn, MY 11220

Holy Family Heme
450) West 33 Streel
Mezzuning Level
Mew York NY LQ00)

At Wineents Catholic Meaical Cemers of New Voork
45() Waste 33" Stree

Mezzanine Leve!

Blew York MY lado)
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 14 of 26

10-11963-cgm Doc 3626-3 Filed 07/29/13 Entered 07/29/13 14:57:27. Exhibit C
Pg4of5

Saint Vincent Catholic Medica! Cenrers
450 West 33" Street

Miezzarineg Level

Mew York, MY POO]

SVCMC-Si. Vinteats Manhattan
450 Wes 33” Street

Mezzanine Level

New York, NY 1000]

Bensonhurst Center for Rehabibttation and Healtheare
P7AC BAM Sa resesy

Brooklyn, NY | 1214

KG Operating Two, LLC
1740 84" Street
Broaklyen, NY )L2)4
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 15 of 26

10-11963-cgm Doc 3626-3 Filed 07/29/13 Entered 07/29/13 14:57:27

Pg 5of5

Index No.;

SUPREME COURT OF THE STATE OF NEW YORK
COUNTY GF RINGS

ELAINE GARVEY, sdminisiratrix of the Estate of
RONALD BROPHY. deceased,

s)

Beecham eee

Plaintiiiis).

- HEIST

LUTHERAN MEDICAL CENTER, METROPOLITAN
JEWISH HOME CARE, INC... METROPOLITAN
JEWISH LONG TERM HOME CARE,
METROPOLITAN JEWISH LHCSA, HOMEFIRST
LHCSA, INC., LUTHERAN AUGUSTANA CENTER
FOR EXTENDED CARE AND REHABILITATION, INC..
HOLY FAMILY HOME, 8ST, VINCENT’S CATHOLIC
MEDICAL CENTERS OF NEW YORK a/k/a SAINT
VINCENT CATHOLIC MEDICAL CENTERS a/k/a
SVCMC-ST VINCENTS MANHATTAN,
BENSONHLIRST CENTER FOR REHABILITATION
AND HEALTHCARE and KFG OPERATING TWO. LLC,

Delendant(s).

pownnnnnnenennneenenenenennenneN

Exhibit C

 

 

SURIMONS WITH NOTICE

 

SHERYL ER. MENKES. ESO.
Attorney jor Phamatitis
525 BROADWAY, SUITE 404
NEW YORK, NEW YORK 10007
(272) 285-0900

(212) 638-440 ~ Pea
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 16 of 26

10-11963-cgm Doc 3626-4 Filed 07/29/13 Entered 07/29/13 14:57:27 Exhibit D -
partl Pgiof 28

EXHIBIT D

Verified Complaint in the State Court Action

104810352
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 17 of 26

10-11963-cgm Doc 3626-4 Filed 07/29/13 Entered 07/29/13 14:57:27. Exhibit D -
partl Pg 2 of 28

SUPREME COURT OF THE STATE OF NEW YORK

COUNTY OF KINGS
scapibanpceescateoh nemesis _ envennnnnX

ELAINE GARVEY, as administratrix of the Estate of

RONALD BROPHY, deceased,
Index Number: 2]8/2013

Plaintiff,
-apainst- VERIFLED COMPLAI NT

LUTHERAN MEDICAL CENTER, METROPOLITAN
JEWISH HOME CARE, INC., METROPOLITAN

JEWISH LONG TERM HOME CARE, METROPOLITAN
JEWISH LHCSA, HOMEFIRST LHCSA, INC.,

LUTHERAN AUGUSTANA CENTER

FOR EXTENDED CARE AND REHABILITATION, INC.,
LUTHERAN AUGUSTANA CENTER FOR EXTENDED CARE
AND REHABILITATION, HOLY FAMILY HOME,

ST. VINCENT’S CATHOLIC MEDICAL CENTERS

OF NEW YORK a/k/a SAINT VINCENT CATHOLIC
MEDICAL CENTERS a/k/a SVCMC-ST VINCENTS MANHATTAN,
BENSONHURST CENTER FOR REHABILITATION

AND HEALTHCARE and KFG OPERATING TWO, LLC,

Defendants.

ls oc daispetelcnemnmmemersuens x

Plaintiff, by his attorney, SHERYL R. MENKES, Complaini neg of the defendants,
upon information and belief respectfully alleges as follows:

|. At all times hereinafter mentioned, decedent RONALD BROPHY was a resident
of the County of Brooklyn, State of New York,

2. Atall times hereinafter mentioned defendant LUTHERAN MEDICAL
CENTER is a corporation existing under and by virtue of the laws of the State of New

York, having its principal place of business located at 150 55' STREET

BROOKLYN, NEW YORK, 11220.
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 18 of 26

10-11963-cgm Doc 3626-4 Filed 07/29/13 Entered 07/29/13 14:57:27 = Exhibit D -

partl Pg 3of 28

3, Prior to and at all times hereinafter mentioned, defendant METROPOLITAN
JEWISH HOME CARE, INC,, was and still is a domestic corporation existing under amd
by virtue of the laws of the State of New York, having its princtpal place of business at
440 9" Avenue, New York, New York 10001 and branch offices located at 6323 Seventh
Avenue, Brooklyn, New York 11220, and 6405 Seventh Avenue, Brooklyn, New York
11220.

4, Prior to and at all times hereinafter mentioned, defendant METROPOLITAN
JEWISH HOME CARE, INC., was authorized to do business and operate a Home Health
Agency, Certified by the State of New York known as METROPOLITAN JEWISH
HOME CARE, INC. .

5. Prior to and at all times hereinafter mentioned, defendant METROPOLITAN
JEWISH HOME CARE, was authorized to do business as a Long Tern Home Health Care
Program known as METROPOLITAN JEWISH LONG TERM HOME CARE with its
principal place of business located at 6405 Seventh Avenue, Brooklyn, New York 11220.

6, Prior to and at all times hereinafter mentioned, defendant METROPOLITAN
JEWISH LONG TERM HOME CARE, was an agent of METROPOLITAN JEWISH
HOME CARE, INC,

7, Prior to and at all times hereinafter mentioned, defendant METROPOLITAN
JEWISH HOME CARE, INC., was doing business as METROPOLITAN JEWISH] LONG
TERM HOME CARE.

8. Atall times hereinafier mentioned, defendant HOMEFIRST LHCSA, INC. was

a domestic corporation duly existing under and by virtue of the laws of the State of New

che
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 19 of 26

Doc 3626-4 Filed 07/29/13 Entered 07/29/13 14:57:27. Exhibit D -

10-11963-cgm
partl Pg 4 of 28

York, having its principal place of business at 6323 Seventh Avenue, Brooklyn, New York
11220 and the operator of METROPOLITAN JEWISH LHCSA located at 6323 Seventh
Avenue, Brooklyn, New York 11220.

9. Prior to and at all times hereinafier mentioned, defendant METROPOLITAN
JEWISH LHCSA. was a Home Care Services Agency licensed by the State of New York,
having its principal place of business at 6323 Seventh Avenue, Brooklyn, New York
11220,

10. Prior to and at all times hereinafter mentioned, defendant HOMEFIRST
LHCSA, INC., was doing business as METROPOLITAN JEWISH LHCSA located at
6323 Seventh Avenue Brooklyn, New York 11220,

1]. Prior to and at all times hereinafter mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC.,
was a domestic corporation existing under and by the virtue of the laws of the State of
New York having its principal place of business at 5434 Second Ave., Brooklyn, New
York 11220, and operator of a nursing home facility known as LUTHERAN AGUSTANA
CENTER FOR EXTENDED CARE AND REHABILITATION INC., located at 5434
Second Avenue, Brooklyn New York 11204..

12, Prior to and at all limes hereinafter mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC..
was a nursing home facility licensed by the State of New York, with its principal place of
business, al 5434 Bath Avenue, and was operated by LUTHERAN AGUSTANA

CENTER FOR EXTENDED CARE, INC.,
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 20 of 26

10-11963-cgm Doc 3626-4 Filed 07/29/13 Entered 07/29/13 14:57:27 Exhibit D -
parttl Pg5of 28

13, Prior to and at all times hereinafier mentioned, defendant ST, VINCENT’S
CATHOLIC MEDICAL CENTERS OF NEW YORK a/k/a SAIN'T VINCENT’S
CATHOLIC MEDICAL CENTERS a/k/a SVCMC-ST VINCENT’S MANHATTAN, was
a not for profit domestic corporation existing under and by virtue of the laws of the State
of New York, having its prineipal place of business at 450 West 33" Street New York,
New York 10001.

14, Prior to and at all times hereinafter mentioned, defendant ST. VINCENT'S
CATHOLIC MEDICAL CENTERS OF NEW YORK a/k/a SAINT VINCENT
CATHOLIC MEDICAL CENTERS a/k/a SVCMC-ST VINCENTS MANHATTAN
operated a nursing home facility known as HOLY FAMILY HOME having its principal
place of business located at 1740 Bath Avenue, Brooklyn , New York 11214.

15. Prior to and at al] times hereinafter mentioned, defendant HOLY FAMILY
HOME was licensed by the State of New York to operate as a nursing home facility with
its principal place of business located at 1740 84'" Street Brooklyn, New York 11214,

16. Prior to and at all times hereinafter mentioned, KFG OPERATING TWO Lie.
was a domestic limited liability corporation existing under and by virtue of the laws of the
State of New York having its principal place of business at 141-16 72ND AVENUE
FLUSHING, NEW YORK, 11367, and was operating a nursing home facility known as
BENSONHURST CENTER FOR REHABILITATION AND HEALTHCARE. ,

17, Atall times hereinafter BEN SONHURST CENTER FOR REHABILITATION
AND HEALTHCARE was licensed by the State of New York to operate as a nursing

home with its principal place of business located at 1740 84" Street, Brooklyn, New York

11214,
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 21 of 26
10-11963-cgm Doc 3626-4 Filed 07/29/13. Entered 07/29/13 14:57:27. Exhibit D -

partl Pg 6 of 28
18. Decedent is represented in the herein action by his daughter ELAINE
GARVEY, administrator of his estate.
19. This action falls within one or more of the exceptions as set forth in CPLR
Sections 1602, 1602(1), 1602(2), 1602(3), 1602(4) 1602(5), 1602(6), 1602(7), 1602(80,
1602(9), 1602(10), 1602(11), and 1602(12) of the State of New York.

AS AND FOR A FIRST CAUSE OF ACTION PURSUANT TO
NEW YORK PUBLIC HEALTH LAW §§2801-d AND 2803-c

LUTHERAN AUGUSTANA CENTER FOR EXTENDED
CARE AND REHABILITATION, INC.

20, Prior to and at all times hereinafter mentioned defendant LUTHERAN
AUGUSTANA CENTER FOR EX'TENDED CARE AND REHABILITATION, INC.,
was authorized to do business as and to operate a nursing home facility at 5434 Second
Avenue, Brooklyn, New York 11220,

21. Prior to and at all times hereinafter mentioned defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC, was
doing business as a nursing home known LUTHERAN AUGUSTANA CENTER FOR
EXTENDED CARE AND REHABILITATION, INC. located at at 5434 Second Avenue,
Brooklyn, New York 11220.

22, Prior to and at all times hereinafler mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC.,,
INC., owned a nursing home facility located at 5434 Second Avenue, Brooklyn, New
York 11208.

23. Prior to and at all times hereinafter mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC., ,

-5-
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 22 of 26

10-11963-cgm Doc 3626-4 Filed 07/29/13 Entered 07/29/13 14:57:27. Exhibit [> -
partl Pg 7 of 28

operated a nursing home facility located at 5434 Second Avenue,, Brooklyn, New York
11208.

24. Prior to and at all times hereinafter mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC.,
INC,, was the lessor of'a nursing home facility located at 5434 Second Avenue, Brooklyn,
New York 11208,

25, Prior to and at al] times hereinafier mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC.,
maintained a nursing home facility located at 434 Second Avenue, Brooklyn, New York
11208.

26, Prior to and at all limes hereinafier mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION. INC.,
managed a nursing home facility located at 434 Second Avenue, Brooklyn, New York
11208.

27, Prior to and at all times hereinafier mentioned, defendant LUTH ERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC.,
supervised a nursing home facility located at 434 Second Avenue, Brooklyn, New York
11208,

48. Prior to and at all times hereinafter mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC,,
INC., inspected a nursing home facility located at 434 Second Avenue, Brooklyn, New
York 11208.

29, Prior ta and at all times hereinafter mentioned, defendant LUTHERAN

“Ge
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 23 of 26
10-11963-cgm Doc 3626-4 Filed 07/29/13 Entered 07/29/13 14:57:27 Exhibit D -

part Pg 8 of 28
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC.,
controlled a nursing home facility located at 434 Second Avenue, Brooklyn, New York
11208.

30. Prior to and at all times hereinafter mentioned defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC., had
possession and/or contro! of the building located at 434 Second Avenue, Brooklyn, New
York, 11208, the building where the nursing home is located,

31, Prior to and at all times hereinafter mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC.,
INC., conducted business as a nursing home facility at 434 Second Avenue, Brooklyn,
New York 11208, licensed by the State of New York and defined under New York Public
Health Law Section 2801 (2).

32. Prier to and at all times hereinafier mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC.,
was the lessee of'a nursing home facility located at 434 Second Avenue, Brooklyn, New
York 11208,

33, Prior to and at all times hereinafier mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC.,
conducted business as a residential health care facility at 434 Second Avenue. Brooklyn,
New York 11208, licensed by the State of New York and defined under New York Public
Health Law Section 2801(3),

34, Prior to and at all times hereinafler mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC.., had

i
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 24 of 26

10-11963-cgm Doc 3626-4 Filed 07/29/13 Entered 07/29/13 14:57:27 Exhibit D -
partl Pg 9 of 28

possession and/or control of the building located at 434 Second Avenue Brooklyn, New
York 11208,

35, Prior to and at all times herein alter mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, was a
facility providing therein nursing care to sick, invalid, infirm disabled or convalescent
persons in addition to lodging and board or health related services pursuant to New York
Public Health Law Section 2801 (2),

36. Prior to and at all times hereinafier mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC.,
was 4 nursing home as within the meaning of Public Health Law Section 2801(2),

37. Prior to and at all times hereinalter mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC,,
was a residential] health care facility within the meaning of Public Health Law Seetion
2801(3).

38. Prior to and at all times hereinafter mentioned, defendants’ nursing home was a
facility subject to provisions of Public Health Law Sections 2801-d; 2803-c: as well as the
rules and regulations set forth in 42 U.S.C, Section 1395(J) et seq., 1396(r ) (1990) et. seq,
as amended by the Omnibus Budget Reconciliation Act of 1987 (OBRA Regulations) 42
Code of Federal Regulations Paris 483, setting Medicare and Medicaid Requirements for
long term facilities (“OBRA” regulations) as effective October 1, 1990 and 10 N.Y.CLR.R.
Part 415,

39, Prior to and at all times hereinafter mentioned, the nursing home operated by
defendants and/or corporate defendants was a “nursing facility” as defined by 42 U.S.C.A

2.
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 25 of 26

10-11963-cgm Doc 3626-4 Filed 07/29/13 Entered 07/29/13 14:57:27 Exhibit BD -
part1 Pg 10 of 28

Section 1396( r) (1990).

40. Prior to and at all times hereinafter mentioned, defendants’ nursing home was
a licensed nursing home as such term is understood in law, and it filed its licensure
application and renewals thereto with the State of New York Department of Health,

4], Prior to and at all times hereinatter mentioned, defendants” nursing home was
certified for participation in the Medicaid Program as an intermediate skilled care facilit y.
42. Prior to and at all times hereinafter mentioned, by reason of selection to
participate as a long term care provider, defendants were able to enjoy substantial revenues

paid for by tax fare funded government programs,

43, Prior to and at all times hereinafter mentioned, the aforementioned government
programs provided defendants with a guaranteed source of income and a continual flow of
residents whose care was paid for by the Medicaid Program or some other tax payer
funded program.

44, Prior to and at all times hereinafter mentioned, defendant LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION , INC,,
actively sought patients with similar medical needs as plaintiff/decedent RONALD
3ROPHY in order to fill its empty beds, increase its rate of occupancy and overall!
revenues.

45, Prior to and at all times hereinafter mentioned plaintiff/decedent RONALD
BROPHY was the kind of resident whose care paid for by the povernment, defendants
actively sought in order to fill their empty beds and to increase their rate of occupancy.

46, At all times relevant to this Complaint defendant, LUTHERAN AUGUSTANA
CENTER FOR EXTENDED CARE AND REHABILITATION, INC., was a proprietary

6.
Case 1:13-cv-06902-PKC Document 16-8 Filed 05/16/14 Page 26 of 26
10-11963-cgm Doc 3626-4 Filed 07/29/13 Entered 07/29/13 14:57:27 Exhibit D -

partl Pg 11 of 28
corporation engaged in the for profit operation of a nursing home, LUTHERAN
AUGUSTANA CENTER FOR EXTENDED CARE AND REHABILITATION, INC..
which claimed to “specialize” in the care of helpless individuals who are chronically
infirm, mentally dysfunctional and/or in need of nursing care and treatment.

47. Prior to and at all times hereinafter mentioned, in an effort to ensure that
RONALD TROPHY and other patients whose care was funded by the government were
placed at Defendant Nursing Home, defendants held themselves out to the New York
Department of Health, the New York Dept. Of Social Services, and the publi¢ at large as

being:

(a) Skilled in the performance of nursing, and other medical support services;

(b) Properly staffed, supervised and equipped to meet the total needs of its

nursing home resident;

(c) Able to specifically meet the total nursing, medical and physical therapy

needs of Plaintifl/Decedent and other residents like her,

48. Additionally, in the case of plaintifi/decedent RONALD TROPHY, said
defendants made specific representations to plaintiff regarding the quality and quantity of
professional medical and nursing care upon which the family of plaintiff/decedent
RONALD TROPHY placed their trust in said defendants,

49. At all times relevant to this complaint, defendants their principals, supervisors,
agents, offices, employees, independent medical personnel, independent contractors,
and/or JOHN/ JANE DOE Administrator; JOHN/JANE DOE Assistant Administrator:
JOHNAANE DOE Director of Nursing: JOHN JANE DOE Assistant Director of Nursing;
JOHNAANE DOE Medical Director; JOHN/JANE DOE Assistant Medical Director, or
any or all of the corporate defendants stockholders, employees independent medical

personnel or independent contractors of Defendant Nursing Home, all well aware of

-10-
